                  Case 16-01106-AJC        Doc 171      Filed 12/27/18     Page 1 of 5



                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                CASE NO. 15-24353-AJC
                                                      CHAPTER 7
BARON CAMILO AGASIM-PEREIRA OF
FULWOOD,

     Debtor.


KAIKA SAS and KULENKAMPFF &                           ADV. PRO. NO. 16-01106-AJC
KONITZKY, GmbH,

          Plaintiffs,

v.

BARON CAMILO AGASIM-PEREIRA OF
FULWOOD,

          Defendant.


PLAINTIFFS’ POST-JUDGMENT MOTION FOR AN AWARD OF ATTORNEY’S AND COSTS
                          AGAINST DEFENDANT

          Plaintiffs, Kaika SAS and Kulenkampff & Konitzky, GmbH, by and through undersigned

counsel, file Plaintiffs’ Post-judgment Motion for an Award of Attorneys’ Fees and Costs Against

Defendant (the “Motion”) and as grounds therefore, Plaintiffs state as follows:

          1.      The dispute between the parties to this adversary proceeding – Plaintiffs,

Kulenkampff & Konitzky, GmbH, a German corporation, and its partially owned subsidiary Kaika

SAS, located in Columbia, and the Defendant, Baron Camilo Agasim-Pereira of Fulwood, began

in August 2012 when Defendant was retained to perform investigatory services on behalf of

Kaika SAS.




                                                     1
                                       SLATKIN & REYNOLDS, P.A.
         One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida ● Telephone 954.745.5880
              Case 16-01106-AJC          Doc 171     Filed 12/27/18     Page 2 of 5



       2.      Soon thereafter, Defendant convinced his employers to expand Defendant’s

authority at Kaika SAS and after obtaining it, grossly abused his position and embezzled

substantial funds belonging to Plaintiffs.

       3.      After learning what Defendant was up to, he was terminated in June 2013.

       4.      Following an investigation into the full extent of Defendant’s misdeeds, Plaintiffs,

through counsel, sent Defendant notice on December 29, 2014 pursuant to Florida Statutes, §

772.11, putting Defendant on notice that Defendant’s actions resulted in the misappropriation of

approximately $1,000,000 and his actions constituted civil theft and as such, demanded that

Defendant pay Plaintiffs threefold that amount as damages, as provided by the applicable

Florida statute, failing which, Plaintiffs would commence an action against Defendant. And if

successful, Plaintiffs would seek a judgment against Defendant for the nearly $3 million

demanded, plus attorneys’ fees and costs incurred in doing so, also as provided for by §

772.11(1), Florida Statutes (2013).

       5.      After commencing an action against Defendant in Miami-Dade County, Florida,

Defendant filed for bankruptcy on August 9, 2015, and on February 16, 2016, Plaintiffs

commenced this adversary proceeding against Defendant, bringing a claim for civil theft and to

deny the dischargeability of that claim under § 523 of the United States Bankruptcy Code (11

U.S.C. §§ 101 et seq.). [ECF 1].

       6.      After repeated delays by Defendant, the trial was ultimately conducted on

September 13, 2018, and on December 13, 2018, the Court issued its memorandum decision in

favor of Plaintiffs finding Defendant liable for civil theft and declaring the debts non-

dischargeable pursuant to § 523(a)(4). [ECF 165].

       7.      A corresponding judgment was entered that same day against Defendant, [ECF

167], awarding Plaintiffs at total of $2,997,206.28 in non-dischargeable damages and reserving



                                                  2
                                    SLATKIN & REYNOLDS, P.A.
      One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida ● Telephone 954.745.5880
              Case 16-01106-AJC        Doc 171      Filed 12/27/18     Page 3 of 5



jurisdiction to award Plaintiffs their attorneys’ fees pursuant to Florida Statutes, § 772.11(1),

which provides that:

       [a]ny person who proves by clear and convincing evidence that he or she has been
       injured in any fashion by reason of any violation of ss. 812.012-812.037 or s. 825.103(1)
       has a cause of action for threefold the actual damages sustained and, in any such
       action, is entitled to minimum damages in the amount of $200, and reasonable
       attorney’s fees and court costs in the trial and appellate courts.

Fla. Stat., § 772.11(1) (2015) [emphasis added].

       8.     Accordingly, by way of this Motion, Plaintiffs seek an award against Defendant

for attorneys’ fees of $267,473.63 and $14,727.20 in costs.

       9.     The attorneys’ fees incurred by Plaintiffs are broken down as follows:

              a. $208,800.00 incurred with the law firm of Krupnick Campbell Malone Buser

                  Slama Hancock Liberman, P.A. (the “Krupnick firm”). Carlos A. Acevedo,

                  Esq., of the Krupnick Firm, admitted pro hac vice, [ECF 47], was lead counsel

                  in this matter and successfully tried this case to judgment. Attached as

                  composite Exhibit “A” are the time records and ledger reflecting costs

                  incurred with the Krupnick firm. Mr. Acevedo’s hourly rate for this matter is

                  $400.00 and that of Kelly Stewart, Esq., who assisted, is $400.00. The total

                  amount of time devoted by the Krupnick firm was 522 hours for the

                  aforementioned, total fee of $208,800. In addition, Plaintiffs seek

              b. $44,487.50 incurred with Jason E. Slatkin, Esq. and the law firm Slatkin &

                  Reynolds, P.A. (bankruptcy counsel to Plaintiffs (the “S&R firm”)). Attached

                  hereto as Exhibit “B” are the time records for the S&R firm. The hourly rates

                  charged by S&R for this matter is $350.00 for both Messrs. Slatkin and

                  Reynolds and $125.00 for Ingrid P. Malcolm, the firm’s bankruptcy paralegal.

                  Attached as Exhibit “B” is the Matter History Report detailing all services

                  rendered and costs incurred with the S&R firm. The total amount of billable

                                                 3
                                   SLATKIN & REYNOLDS, P.A.
     One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida ● Telephone 954.745.5880
               Case 16-01106-AJC           Doc 171      Filed 12/27/18        Page 4 of 5



                     time devoted by Messrs. Slatkin and Reynolds in this matter was 134.50

                     hours and Ms. Malcolm 6.2 hours for a total of 140.7 hours of professional

                     and paraprofessional time. (Both, the attorneys’ fees incurred with the S&R

                     firm and that incurred with the Krupnick Firm shall be referred to as

                     “Attorneys’ Fees”.)

        10.     Thus, through the date hereof, Plaintiffs seek Attorneys’ Fees of $253,287.50.

The blended hourly rates of these fees are $385.82 for services performed by the attorneys and

$125.00 for that performed by Ms. Malcolm.

        11.     The costs incurred by Plaintiffs total $14,727.20 and are itemized below:

                a. Filing fees                           $838.30

                b. Service of process/summonses $1,093.50

                c. Photocopies/scans (in-house)          $3,034.85

                d. Color copies (in-house)               $98.54

                e. Photocopies (third party)             $265.94

                f.   Long distance charges               $2,393.32

                g. Postage                               $128.60

                h. Investigation services                $1,725.80

                i.   Meals                               $89.11

                j.   PACER                               $329.93

                k. Court reporting                       $3,835.10

                l.   Travel and parking                  $894.21

                TOTAL COSTS                              $14,727.20

        12.     All together, the total amount of Attorneys’ Fees and costs that Plaintiffs request

be recoverable from Defendant by way of a judgment comes to $268,014.70, which Plaintiffs

further request shall incur interest at the statutory rate until satisfied.

                                                  4
                                    SLATKIN & REYNOLDS, P.A.
      One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida ● Telephone 954.745.5880
             Case 16-01106-AJC          Doc 171     Filed 12/27/18      Page 5 of 5



       WHEREFORE, Plaintiffs, by and through undersigned counsel, request that this

Honorable Court grant this Motion and grant Plaintiffs any further relief this Honorable Court

deems just and proper.



Dated this 27th day of December 2018.        SLATKIN & REYNOLDS, P.A.
                                             Attorneys for Plaintiffs
                                             One East Broward Boulevard, Suite 609
                                             Fort Lauderdale, Florida 33301
                                             Telephone 954.745.5880
                                             Facsimile 954.745.5890
                                             jslatkin@slatkinreynolds.com

                                             By: /s/ Jason E. Slatkin
                                                Jason E. Slatkin
                                                Fla. Bar No. 040370

                                     Certificate of Service

       I HEREBY CERTIFY that a true copy of foregoing was served the Court’s CM/ECF

noticing    system       to    Angelena       M.     Root,     Esq.,       amrootesq@gmail.com,

m.ar70464@notify.bestcase.com on this 27th day of December 2018.

                                                    /s/ Jason E. Slatkin
                                                    Jason E. Slatkin




                                                 5
                                   SLATKIN & REYNOLDS, P.A.
     One East Broward Boulevard, Suite 609, Fort Lauderdale, Florida ● Telephone 954.745.5880
